Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 __________________________________
 DAVID MARSH

                                 SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) David Marsh (“Plaintiff(s)”) brings this action (check the applicable
                designation):

                        ☒      On behalf of [himself/herself];


                        ☐      In representative capacity as the __________, on behalf of the
                               injured party, (Injured Party’s Name) ______________ .



                                                 -1-
Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 2 of 6




        2.      Injured Party is currently a resident and citizen of (City, State) _Sebring, Florida
                and claims damages as set forth below.

                                                      —OR—

                Decedent died on (Month, Day, Year) _________. At the time of Decedent’s death,
                Decedent was a resident and citizen of (City, State) _ ___________.

 If any party claims loss of consortium,

        3.      ___________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _______ ______.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _____ _______.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers:

        1.      Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (“BI”) is a Delaware
 corporation with its principal place of business located at 900 Ridgebury Road, Ridgefield,
 Connecticut 06877. BI is a subsidiary of the German company Boehringer Ingelheim Corporation.
 BI owned the U.S. rights to over-the-counter (“OTC”) Zantac between December 2006 and
 January 2017, and manufactured and distributed the drug in the United States during that period.

        2.      Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation with its principal place
 of business located at 235 East 42nd Street, New York, New York 10017. Pfizer was the original
 NDA holder for OTC Zantac, and controlled the NDA between August 2004 and December 2006.

        3.      Defendant GlaxoSmithKline, LLC (“GSK”) is a Delaware corporation with its
 principal place of business located at 5 Crescent Drive, Philadelphia, Pennsylvania, 19112 and
 Five Moore Drive, Research Triangle, North Carolina, 27709. GSK was the original innovator of
 the Zantac drug and controlled the NDA for prescription Zantac between 1983 and 2009. By




                                                -2-
Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 3 of 6




 controlling the Zantac NDA it also directly controlled the labeling for all Zantac products through
 2009. And, GSK’s negligence and misconduct related to Zantac as an innovator directly led to the
 failure to warn for other OTC versions of Zantac.

    C. JURISDICTION AND VENUE


       1. Identify the Federal District Court in which Plaintiff(s) would have filed this action in
          the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District Court
          to which their original action was removed]: Florida Southern District Court.

        2.      Jurisdiction is proper upon diversity of citizenship.

                                     II.     PRODUCT USE

        3.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                       ☐       By prescription

                       ☒       Over the counter

        4.      The Injured Party used Zantac and/or generic ranitidine from approximately
                (month, year) _January 2005_ to _December 2015 .


                                  III.     PHYSICAL INJURY


        5.      As a result of the Injured Party’s use of the medications specified above, [he/she]
                was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                                 Approximate    Date       of
  that                                                                  Diagnosis
  apply
  ☐         BLADDER CANCER
  ☐           BRAIN CANCER
              BREAST CANCER
  ☒           COLORECTAL CANCER                                         04/08/2019
              ESOPHAGEAL/THROAT/NASAL CANCER
              INTESTINAL CANCER
  ☒           KIDNEY CANCER                                             03/01/2019
  ☐           LIVER CANCER
  ☐           LUNG CANCER




                                                 -3-
Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 4 of 6




            OVARIAN CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
            STOMACH CANCER
            TESTICULAR CANCER
            THYROID CANCER
            UTERINE CANCER
            OTHER CANCER:

  ☐         DEATH (CAUSED BY CANCER)


       6.    Defendants, by their actions or inactions, proximately caused the injuries to
             Plaintiff(s).

                        IV.    CAUSES OF ACTION ASSERTED

       7.    The following Causes of Action asserted in the Master Personal Injury Complaint
             are asserted against the specified defendants in each class of Defendants
             enumerated therein, and the allegations with regard thereto are adopted in this Short
             Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
       ☒         I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       ☒          II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

       ☒          III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                          DEFECT

       ☒          IV      NEGLIGENCE – FAILURE TO WARN

       ☒          V       NEGLIGENT PRODUCT DESIGN

       ☒          VI      NEGLIGENT MANUFACTURING

       ☒         VII      GENERAL NEGLIGENCE

       ☒         VIII     NEGLIGENT MISREPRESENTATION

       ☒          IX      BREACH OF EXPRESS WARRANTIES

       ☒          X       BREACH OF IMPLIED WARRANTIES




                                             -4-
Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 5 of 6




    Check if   COUNT Cause of Action
    Applicable
       ☒         XI  VIOLATION OF CONSUMER PROTECTION AND
                     DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                     statute below:
                     ___________Florida____________

                     XII      UNJUST ENRICHMENT

        ☐            XIII     LOSS OF CONSORTIUM

        ☐            XIV      SURVIVAL ACTION

        ☐            XV       WRONGFUL DEATH

                     XVI      OTHER:

                    XVII      OTHER:


                If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                            V.     JURY DEMAND

        8.      Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.

                                      VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.




                                                   -5-
Case 9:21-cv-80100-RLR Document 1 Entered on FLSD Docket 01/19/2021 Page 6 of 6




 Dated: January 19, 2021,
                                           Respectfully submitted,

                                           /s/ Christopher R. LoPalo
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                                     -6-
